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United States District Court
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Western Dlstrict of Tennessee C k_;:;};,_l‘ U*_S' DES.}_. C.?_

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U.S.A. vs. Bryant Edvvards Docket No. 05-20039-02

and Docket No. 05-20143-01

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRlAL SERVICES OFFICER Stephanie K. Denton presenting an official report upon the
conduct of Defendant Bryant Edwards who Was placed under pretrial release supervision by the Honorable Tu M.
Pham sitting in the court at Memphis, on the 28th day of February, 2005, under the following conditions:

l) Report to Pretrial Services as directed, 2) Maintain or actively seek employrnent, 3) Refrain from possessing a
firearm1 destructive device, or other dangerous weapon, 4) Refrain from any unlawful possession or use of a
controlled substance, 5) Subnn`t to substance abuse testing as directed by Pretrial Services1 and 6) Participate in
substance abuse counseling if deemed advisable by Pretrial Services

Since the defendant’s release on pretrial release on March 21, 2005, the defendant has violated the following terms
of his releasc:

RESPECTFU[.I-Y PRESENTING PETET]ON FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:

See attached page.

ORDER OF COURT l declare under penalty of perjury that the

foregoing is true and correct
Consider@_ and ordered this lie
day Of ]\5!§£ j zo_QS_and mdered Executed on June 13, 2005

filed and made a part of the records in the above

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U.S. Dislrict Judge. Place Memphis, TN

 

 

This document entered on the docket sheet in compliance
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Report to Pretrial Services as directed

Defendant Edwards failed to report in person to Pretrial Services on May 9, 2005, May lO, 2005, May 12, 2005, and
May 13, 2005. A failure to report letter was sent to the defendant on May 17, 2005. Defendant Edwards has not
reported to Pretrial Services in person since April 29, 2005.

Refrain from any unlawful possession or use of a controlled substance
On April 15, 2005, the defendant tested positive for amphetamines On May 9, 2005, the defendant verbally
admitted to using methamphetamine one time while supervised on pretrial release.

Submit to substance abuse testing as directed by Pretrial Services
Defendant Eclwards has been unable to be tested since April 29, 2005, due to his failure to report as directed.

On April 21, 2005 , Defendant Edwards was arrested on indictment number 05-20143-0] charging him with
Conspiracy and Possession with Intent to Distribute in Excess of 50 Grarns of Methamphetamine. On April 27,
2005, Defendant Edwards appeared before U.S. Magistrate Tu M. Phani for the purpose of a detention hearing The
defendant was ordered released on thc same bond and existing conditions of release as set in indictment number 05-
20039-02.

PRAYING THAT THE COURT WILL ORDER ISSUANCE OF A WAR_RANT CHARGING THE DEFENDANT
WITH VIOLATING THE CONDITIONS OF PRETRIAL RELEASE.

BOND RECOMMENDATION: NONE

E"RDISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20039 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

